                      Case 20-09037          Doc 15       Filed 08/30/21       Page 1 of 6




                     IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                 DURHAM DIVISION
    IN RE:
                                                            )
                                                            )
                                                            )       CASE NUMBER: 18-80856
    AE BICYCLE LIQUIDATION, INC.,                           )            CHAPTER 11
    et al.,1
                                                            )
                                                            )
          Debtor.                                           )
    ____________________________________                    )
                                                            )
    THE FINLEY GROUP, INC., solely                          )     ADVERSARY PROCEEDING
    in its capacity as Plan                                 )          NO.: 20-09037
    Administrator for Advanced                              )
    Sports, Inc.                                            )
                                                            )
               Plaintiff,                                   )
    v.                                                      )
                                                            )
    Star Leader Trading Limited,

             Defendant.


                              MOTION FOR DEFAULT JUDGMENT

          COMES NOW The Finley Group, Inc. (the “Plaintiff”), by and through
counsel, and moves the Court pursuant to Federal Civil Procedure Rule 55 and
Bankruptcy Rule 7055 for judgment by default, and in support thereof shows unto
the Court that:
          1.       Plaintiff’s claim is for a sum certain.
          2.       Defendant has failed to plead or appear or are otherwise subject to
default judgment as provided by the Bankruptcy Code and Federal Rules of Civil
Procedure and as shown by the attached Affidavit (See Exhibit A).


1   The Debtors in this case, along with each Debtor’s case number, are: (i) AE Bicycle Liquidation, Inc. (formerly
    known as Advanced Sports Enterprises, Inc., Case No. 18-80856); (ii) AI Bicycle Liquidation, Inc. (formerly
    known as Advanced Sports, Inc.), Case No. 18-80857; (iii) Performance Direct, Inc., Case No. 18-80860; (iv)
    Bitech, Inc., Case No. 18-80858; and (v) Nashbar Direct, Inc., Case No. 18-80859.



8453842 v1
                 Case 20-09037      Doc 15   Filed 08/30/21   Page 2 of 6




         3.    On August 27, 2021, Default as to this Defendant was entered by the
Clerk.
         4.    There is due to the Plaintiff from the Defendant the sum of
$171,913.00, plus costs and interest at the legal rate from November 6, 2020, the
date of the filing of the complaint.


         WHEREFORE, Plaintiff respectfully requests that the Court enter judgment
against the Defendant, Star Leader Trading Limited, and in favor of the Plaintiff in
the amount of $171,913.00, plus interest at the legal rate from November 6, 2020,
and for the costs of this action.


Date: August 30, 2021.
                                         FLASTER/GREENBERG P.C.
                                         William J. Burnett (PA Bar No. 75975)
                                         (pro hac vice)
                                         1835 Market Street, Suite 1050
                                         Philadelphia, PA 19103
                                         (215) 279-9383 Telephone
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                                         william.burnett@flastergreenberg.com




8453842 v1
             Case 20-09037   Doc 15   Filed 08/30/21   Page 3 of 6




                               EXHIBIT A




8453842 v1
Case 20-09037   Doc 15   Filed 08/30/21   Page 4 of 6
Case 20-09037   Doc 15   Filed 08/30/21   Page 5 of 6
                 Case 20-09037     Doc 15    Filed 08/30/21   Page 6 of 6




                            CERTIFICATE OF SERVICE

      I hereby certify that on this date, a copy of the foregoing was served by
depositing a copy in the United States mail, postage fully pre-paid, as follows:

 Star Leader Trading Limited
 15th Floor, BOC Group Life Assurance Tower
 136 Des Voeux Road Central
 Central, Hong Kong, SAR

        Under penalty of perjury, I declare that the foregoing is true and correct.

Date: August 30, 2021.                    FLASTER/GREENBERG P.C.
                                          William J. Burnett (PA Bar No. 75975)
                                          (pro hac vice)
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8453842 v1
